 

So es AHYN DH OH HP WW KN

hm NO NO HK NH KH HN KN KRO Se eR BR KSB BS Se eS Se ee
oO SN DW OW & WH NYO KH CO OO FH HA HD NA FP WW NY | O&O

Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 1 of 25

—_——— FILED

——— LODS2D

 

erat we BR ety
wise’ Oo bol ya

AT SE
CLERK U.S. Cour
By STERN DISTRICT OF WASH OTN
DEPUTY

   

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

 

AT SEATTLE
UNITED STATES OF AMERICA, CR NO. C ee i a sist 0 0 i Ts C 2.
Plaintiff, INFORMATION
Vv.
LOBSANG DARGEY,
Defendant.

 

 

 

 

The United States Attorney charges that:

1, PRELIMINARY STATEMENT
1. This matter involves defendant LOBSANG DARGEY’s abuse of a federal

immigration program that promotes foreign investment in this country, and DARGEY’s
misuse of the investment proceeds DARGEY collected from investors he recruited to the
program. As discussed herein, DARGEY raised over $150 million from foreign investors
by representing to the investors and to the United States that DARGEY would use the
investment proceeds exclusively to complete certain real estate projects in the Puget
Sound area. DARGEY and others represented that the investment proceeds would be
used in accordance with the requirements of the immigration program, including the

requirement that each investor’s full capital investment be used solely for job-creating

United States v. LOBSANG DARGEY—Information - | UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
So eo DH NH BP WY NO

DR NO DN KH KR KROQ NO RO RO mm mm ee tem et
oOo nN DW OW FP WW NY |§ DOD OO Oo HIND DW WT FP WW NNO KF O&O

 

 

Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 2 of 25

activities in the proposed projects. As a result of these representations, investors were led
to believe that if they entrusted their money to DARGEY they would ultimately be
entitled to permanent United States residency.

2. In fact, contrary to DARGEY’s representations, and for his own personal
benefit, DARGEY secretly funneled tens of millions of dollars in investor funds to uses
not disclosed to the investors or to the United States. This included DARGEY’s secret
use of investor funds for DARGEY’s personal real estate projects unrelated to the
investors’ projects, and DARGEY’s secret use of investor funds to pay the costs of
DARGEY’s organizations, such as expenses incurred in promoting the investments. As
DARGEY knew, his misuse of investor funds not only resulted in financial harm to
investors, but also carried the potential to render the investors ineligible for the
immigration benefits that DARGEY had represented would flow from the investments.

3. DARGEY’s diversion of investor funds, coupled with his own failure to
make tens of millions of dollars in promised financial contributions to the projects,
resulted in gaping funding deficits for the investors’ projects. DARGEY filled these
deficits by raising tens of millions of dollars from a lender and a new equity investor.
DARGEY, with the assistance of others, provided the lender and investor with fraudulent
financial information, including altered bank statements and falsified balance sheets, to
hide his misuse of immigrant investor funds and the resulting funding deficits. DARGEY
also raised money for two new real estate projects, and planned to secretly divert the
newly-raised funds to his original projects to further address the deficits.

4. DARGEY’s fraud was brought to an end only when the United States
Securities and Exchange Commission obtained injunctive relief, an asset freeze, and the
removal of DARGEY’s authority over the projects. As a result of DARGEY’s conduct,
United States Citizenship and Immigration Services (“USCIS”) terminated DARGEY’s
role in the projects and rendered decisions unfavorable to his investors’ immigration

petitions.

United States v. LOBSANG DARGEY—Information - 2 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
Oo Oo IND WN FP W NY —

BRO DN KO HN KH KH HK KH HN HH HS HH He Fe Oe Se OO Se ee
oOo st DN UO HP WD NY K& DTD OO On DOA FP W YVY KK OS

 

 

Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 3 of 25

Il. BACKGROUND
A. The EB-5 Program

5. The United States administers a federal immigration program called the
“Employment-Based Immigration Fifth Preference” program, which is more commonly
known as the “EB-5” program. The EB-5 program is intended to promote economic
growth in the United States, primarily through new job creation, by encouraging foreign
investment in this country. The EB-5 program allows foreign nationals to obtain
permanent United States residency (commonly known as “green card” status) by
investing in qualifying American businesses. Investors who comply with program
requirements initially receive a grant of conditional permanent residency status for a two-
year period. After this period, the investor may petition for permanent residency.

6. To obtain an EB-5 visa, the investor must satisfy three primary program
requirements: (1) the investor must invest at least $1 million (hereinafter, the “capital
contribution”) in the United States; (2) the capital contribution must be made in a
qualifying business known as a “new commercial enterprise,” or “NCE”; and (3) the
capital contribution must create or preserve full-time positions for at least 10 qualifying
employees within two years. The minimum amount of the capital contribution is reduced
from $1 million to $500,000 if the NCE is located in an area designated as a “targeted
employment area,” which may be a rural or high-unemployment area. USCIS, a
component of the United States Department of Homeland Security, administers the EB-5
program.

7. EB-5 investments are sometimes promoted by entrepreneurs seeking
financing for projects such as real estate developments. These promoters sometimes
establish “regional centers,” which are entities that promote EB-5 investments within a
designated geographic area. To obtain regional center status, the promoter must provide
USCIS with materials describing the kinds of commercial enterprises that may operate

under the regional center, and the types of jobs that will be created either directly or

United States v. LOBSANG DARGEY—Information - 3 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
co me IN DH OH BR WD NYO =

DO BR KR KR KO BR RQ RHR RD its
OOo aN DN NH BF WN —§ DTD COC fF NT DB A BW NBO KH CO

 

 

Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 4 of 25

indirectly as a result of the investments. An immigrant investor may, but is not required
to, invest in an NCE affiliated with a regional center.

8. Prospective immigrants who wish to participate in the EB-5 program must
file “I-526” petitions with USCIS. An I-526 petition must establish that the immigrant
will more likely than not satisfy EB-5 program requirements. For example, the petition
must show that the immigrant has invested (or is in the process of investing) the required
amount of funds in an NCE; that the funds come from a lawful source; and that the
investment will more likely than not create at least 10 qualifying jobs in the United
States.

9. To make these showings, immigrant investors typically provide USCIS
with supporting materials, which may include a project business plan, a budget, and
applicable offering materials. USCIS reviews and relies on these materials in
determining whether the I-526 application should be granted. During the pendency of the
1-526 petition, the proposed project must proceed, in all material respects, in the manner
described in the I-526 petition and supporting materials. If the actual project materially
diverges from the I-526 proposal before USCIS grants the petition and the immigrant
becomes a conditional permanent U.S. resident, USCIS may deny the I-526 petition.

10. If USCIS approves an 1-526 petition, the petitioner/immigrant receives
conditional permanent residency for a two-year period. After two years, the immigrant
may file a second petition, known as an “I-829 petition,” to remove the conditions on the
immigrant’s residency status. If the I-829 petition demonstrates the immigrant investor
has in fact invested the minimum amount of funds in the NCE; that the investment has
created at least 10 jobs; and that other program requirements are satisfied, the petition is
granted and the investor receives his or her “green card,” or unconditional permanent
residency.

11. A fundamental rule of the EB-5 program is that every dollar of each EB-5

investor’s capital contribution must be invested directly in the entity directly responsible

United States v. LOBSANG DARGEY—Information - 4 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

$220
SEATTLE, WASHINGTON 98101
(206) 553-7970
co eo IN HK OH SP WD WN

DBO DN BP NY HN HO KP HNO HNO won Re S&S = SS Se Se Se — a
oO SN DN A SP WH NY KH DTD OO FAD KH HA F&F WW NHN KH OS

 

 

Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 5 of 25

for creating employment, which is known as the “‘job-creating enterprise,” or “JCE.”
Further, the full investment must remain at risk and be used for job-creation purposes in
that project. If any portion of the $1 million (or $500,000) capital contribution is used for
a purpose other than the project, USCIS will deem the investment non-compliant with
EB-5 regulations. In particular, no portion of the investor’s capital contribution may be
used to pay regional center expenses, such as expenses associated with promoting the
EB-5 investment. For example, in a well-known decision, USCIS ruled that an
investment did not comply with EB-5 requirements because portions of the $500,000
capital contributions were used to pay sales commissions to EB-5 investment brokers.
See Inre: Izummi, USCIS Decision No. 3360 (July 13, 1998).

B. The Defendant and Path America
12. At all times material to the Information, defendant LOBSANG DARGEY

was a real estate developer and a resident of Bellevue, Washington. DARGEY was the
owner of several Washington-based real estate development companies including Path
America LLC, Dargey Development LLC, and Dargey Enterprises LLC.

13. On June 28, 2010, DARGEY submitted to USCIS applications requesting
that USCIS designate two regional centers. The first proposed regional center, which
was called “Path America SnoCo LLC,” was intended to promote EB-5-financed projects
in Snohomish County, Washington, particularly Everett, Washington. On August 8,
2011, USCIS granted the application and designated Path America SnoCo as a regional
center. The second proposed regional center, which was called “Path America KingCo
LLC,” was intended to promote EB-5-financed projects in King County Washington.
USCIS initially denied the application, but on June 6, 2013, it granted regional center
status to Path America KingCo LLC. Path America LLC, Dargey Development LLC,
Dargey Enterprises LLC, Path America SnoCo LLC, and Path America KingCo LLC are

collectively referred to below as “the Dargey Entities.”

United States v. LOBSANG DARGEY—Information - 5 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
 

Co eo SI HD OH BP W NH

NO NY HO NYO NY NY NHN NY DN Se Se Se Se Se OS OS
Oo ND Wn FP WN —§ CD OO FAD A FR W NYO —| SO

 

 

Case 2:17-cr-00001-RSL Document 1 Filed 01/03/17 Page 6 of 25

C. The Everett Farmer’s Market Project
14. | Following USCIS’s approval of the Path America SnoCo regional center,

DARGEY, with the assistance of others, began promoting a potential EB-5 project called
Path America Farmer’s Market (“PAFM”), a mixed-used building in Everett. To
promote the investment, DARGEY and others prepared a Business Plan, an economic
analysis, a Private Placement Memorandum, a Subscription Agreement, an Escrow
Agreement, and a Partnership Agreement (collectively, the “PAFM Offering Materials”).
DARGEY distributed and caused to be distributed the PAFM Offering Materials to
prospective immigrant investors with the intent that the investors would rely on them in
making investment decisions, and would submit the materials to USCIS in support of
their 1-526 petitions.

15. The PAFM Offering Materials provided that a prospective immigrant
investor could purchase a limited partnership interest in PAFM LP (the NCE) for
$545,000. The $545,000 investment was made up of (a) a $500,000 capital contribution
to PAFM LP payable into escrow, and (b) a $45,000 administrative fee payable to a
DARGEY-affiliated entity in Hong Kong called Path America Asia Ltd. (“Path America
Asia’).

16. The PAFM Offering Materials represented that DARGEY would use each
$500,000 capital contribution to build the PAFM project in accordance with the Business
Plan, and would use the $45,000 administrative fee to pay sales commissions and other
expenses of the regional center connected to the EB-5 securities offering. The PAFM
Offering Materials also stated that Path America LLC would contribute $2.5 million to
the PAFM project, and in return would receive an 80% equity interest in PAFM LP.

17. DARGEY and a business associate established Path America Asia to
promote the EB-5 investment to prospective Chinese investors. Path America Asia
formed relationships with Chinese sales agents. Path America Asia and Path America

LLC then entered into referral agreements with those agents. Under the referral

United States v. LOBSANG DARGEY—Information - 6 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
 

Oo Oo ND DH UW FSF WD HNO

mM NO Bw PP KH HN KN KR RO Re me ee ee ee
Oo SN DN OT FP WH NY K§ COD OO FC ADT DA BP W NO | OS

 

 

Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 7 of 25

agreements, Path America LLC agreed to pay commissions to the agents for each EB-5
investor the agents referred to the PAFM EB-S investment. Path America Asia also
directly promoted PAFM to potential investors. DARGEY attended and participated in
presentations in China to prospective PAFM investors.

18. Between March 2012 and August 2014, DARGEY, through Path America
LLC and its employees and agents, raised $43.6 million from 80 immigrant investors for
the PAFM project. This included $40 million in capital contributions to be used
exclusively to construct the PAFM project, and $3.6 million in administrative fees to
cover the costs of the offering, including sales commissions. The immigrant investors
invested these funds with DARGEY in reliance on the representations DARGEY made in
the PAFM Offering Materials, and on statements DARGEY and other Path America
representatives made directly to the immigrant investors during investor sales
presentations in China.

19. Between March 2012 and August 2014, the immigrant investors, with
DARGEY’s participation and knowledge, submitted the PAFM Offering Materials to
USCIS in support of their I-526 petitions. In reliance on these materials, USCIS
approved the I-526 petitions of PAFM investors. After receiving their conditional
residency status, PAFM investors then moved to the United States based on their
expectation that they would ultimately receive unconditional permanent resident status.

20. In addition to the $40 million in EB-5 financing, DARGEY solicited and
obtained a $25 million construction loan from Voya Insurance and Annuity Company
(“Voya”) to fund the remaining cost of building the PAFM project. As described more
fully below, DARGEY made materially false and fraudulent statements to Voya,
including providing Voya with an altered bank statement, to obtain this loan.

D. The Potala Tower Project
21. In or about October 2013, following USCIS’s designation of Path America

KingCo as a regional center, DARGEY began promoting an EB-5 project called the

1 United States v. LOBSANG DARGEY—Information - 7 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE
5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
Co me SND OH SP W NH

DO NO DN KN KO KH KR NO NO mm mm em eek pk et
SS ANY WN mn BPW NY | CO CO DH ND DH nA FP WW HPO | OC

 

 

Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 8 of 25

“Potala Tower” project to potential immigrant investors. DARGEY and others created,
and provided to the prospective investors, among other things, a Business Plan, an
economic analysis, a Private Placement Memorandum, a Subscription Agreement, a
Partnership Agreement, an Escrow Agreement, and a Construction Loan Agreement
(collectively, the “Tower Offering Materials”).

22. The Tower Offering Materials provided that prospective EB-5 investors
could purchase limited partnership interests in one of two proposed NCEs (named “Path
America Tower, LP,” and “Path Tower Seattle, LP” or, collectively, the “Tower NCEs”)
for $545,000. The $545,000 investment was made up of (a) a $500,000 capital
contribution payable into escrow; and (b) a $45,000 administrative fee payable to Path
America Asia in Hong Kong.

23. The Tower Offering Materials stated that, after the Tower NCEs received
the immigrant investors’ capital contributions, the NCEs would loan these funds to Potala
Tower Seattle LLC, a DARGEY-created entity, to construct the Tower project in
accordance with the Business Plan. The Tower Offering Materials stated that DARGEY
would use the immigrant investors’ $45,000 administrative fees to pay commissions and
other expenses related to the EB-5 offering.

24. Between February 2014 and August 2015, DARGEY raised approximately
$110 million from approximately 202 immigrant investors for the Tower project. This
included approximately $101 million in capital contributions and approximately $9
million in administrative fees. The immigrant investors invested these funds in reliance
on the representations DARGEY made in the Tower Offering Materials and on
statements DARGEY and other Path America representatives made to them during
presentations in China.

25. Between February 2014 and August 2015, the immigrant investors, with
DARGEY’s participation and knowledge, submitted the Tower Offering Materials to
USCIS in support of their I-526 petitions. In addition, on July 10, 2015, DARGEY,

United States v. LOBSANG DARGEY—Information - 8 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
oe ANA KD WH HP WW WN

So AD nT FP WHO K|§& DO FAN DH FP WD NY | S&S

 

 

Case 2:17-cr-00001-RSL Document 1 Filed 01/03/17 Page 9 of 25

through counsel, submitted the Tower Offering Materials to USCIS in support of a
request that USCIS grant “exemplar” approval to the Tower Project. In submitting this
request, DARGEY intended that USCIS would rely on the Tower Offering Materials and
determine that the project satisfied EB-5 program requirements, and would apply that
favorable determination as precedent in adjudicating the I-526 petitions of all of the
Tower Project investors.

26. In addition to the EB-5 financing, DARGEY solicited financing for the
Tower project from a Chinese investment company, Shanghai Binshun Investment
Management Company (“Binjiang’”). On or about August 20, 2015, Binjiang, in reliance
on statements made by DARGEY about the financial condition of the Tower project,
invested $30 million in the Tower project. Binjiang simultaneously invested an
additional $30 million in two other DARGEY projects known as Path Othello and Path
Shoreline in reliance on statements made by DARGEY about the financial conditions of
those projects.

COUNT 1
(Conspiracy to Commit Wire Fraud)

A. The Conspiracy and the Scheme to Defraud

27. Beginning at a time unknown, but no later than March 2012, and continuing
through on or about August 24, 2015, at Bellevue, within the Western District of
Washington, and elsewhere, LOBSANG DARGEY, together with others known and
unknown, did conspire, confederate and agree, together and with each other, to commit
an offense against the United States. Specifically, LOBSANG DARGEY, together with
others known and unknown, with intent to defraud, knowingly devised a scheme and
artifice to defraud and to obtain money and property by means of materially false and
fraudulent pretenses, representations and promises. To execute and attempt to execute
the scheme and artifice to defraud, LOBSANG DARGEY knowingly transmitted and
caused to be transmitted by wire communication in interstate and foreign commerce,

United States v. LOBSANG DARGEY—lInformation - 9 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

$220
SEATTLE, WASHINGTON 98101
(206) 553-7970
 

Oo fe SID UH FP W NY —

NM PHO HNO HO HN HNO HO HO HNO | HF | | FOE ee
oO nN Dn NH FP WY NYO KK CO CO OH HID HDR A BP WH NO KS OS

 

 

Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 10 of 25

writings, signs, signals, pictures and sounds in violation of Title 18, United States Code,
Section 1343.

28. The object of the conspiracy was to persuade investors and lenders to
entrust DARGEY with millions of dollars by falsely representing that DARGEY: (1)
would manage the EB-5 investors’ investments in compliance with EB-5 program
requirements, and in a manner expected to result in the issuance of EB-5 immigrant visas
to the EB-5 investors, when in fact DARGEY knowingly managed the investments in
violation of EB-5 program rules and in a manner that could result in the denial of the
investors’ visa applications; (2) would use the funds entrusted to him in accordance with
the PAFM and Tower Offering Materials for each respective project, when in fact
DARGEY used the funds contrary to the representations in those materials and for his
own personal benefit, and to the investors’ detriment; and (3) would contribute millions
of dollars of his own funds to the projects, when in fact DARGEY made no financial
contribution to either project and lacked the financial means to do so. Having misused
investor funds, and having failed to contribute to the projects as promised, DARGEY and
others then attempted to compensate for the resulting funding deficits by soliciting
additional financing from Voya and Binjiang that was not disclosed to investors, and by
using fraudulent documents such as falsified bank statements and altered financial
statements to induce those companies to provide financing to DARGEY.

B. False Representations Regarding EB-5 Compliance

29. It was part of the scheme and artifice to defraud that, in soliciting
prospective EB-5 investors, DARGEY represented that DARGEY would manage the
projects in accordance with EB-5 rules and in a manner that would result in the approval
of investors’ EB-5 petitions. DARGEY knew that the immigrant investors’ primary
purpose in investing in both projects was to obtain green cards through the EB-5

program, and DARGEY encouraged investors to participate for this purpose.

United States v. LOBSANG DARGEY—Information - 10 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

5220
SEATTLE, WASHINGTON 98101
(206) $53-7970
 

So eo SI DN OW BP WD DH

DO DN NHN KH BR KN KN KR DR me
oN DO nN FP WN K§ CO OD FAN H OH FP W NH — &

 

 

Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 11 of 25

30. For example, in sales presentations to prospective Chinese investors,
DARGEY represented, and caused others to represent, that the projects came with a
“green card guarantee.” Similarly, materials distributed to investors for the PAFM
project represented that Path America SnoCo investment vehicles would be “specifically
designed to meet the applicant’s Form I-829 Petition for an Alien Entrepreneur to
Remove Conditions requirements.” In addition, DARGEY promoted the investments
through a website promising to “assure that all EB-5 requirements are met.” The Path
America Tower LP Limited Partnership Agreement represented that DARGEY would
“operate the Company in a manner designed to comply with legal and policy
requirements of the EB-5 program,” and that he would “follow the business plan for the
project as submitted to USCIS.”

31. In fact, as detailed below, DARGEY knowingly used the EB-5 investors’
capital contributions for purposes other than those described in the PAFM and Tower
Offering Materials, otherwise knowingly managed the investments contrary to EB-5
requirements, and caused the projects to materially depart from the business plans in
numerous respects without informing investors or USCIS. DARGEY’s conduct could
result in the denial of the investors’ EB-5 visa petitions.

C. Misuse of Capital Contributions to Pay Commissions and Syndication Costs
32. It was further part of the scheme and artifice to defraud that DARGEY

falsely represented to the immigrant investors and USCIS that he would not use any
portion of investors’ $500,000 capital contributions to pay sales agent commissions or
other expenses associated with recruiting EB-5 investors.

33. For example, the Tower Private Placement Memorandum (“Tower PPM”)
stated that “commissions or other fees shall not be payable out of the proceeds of the
Capital Contributions.” Similarly, the PAFM Private Placement Memorandum (“PAFM
PPM”) stated that “the [$45,000] administrative fee shall be used exclusively to pay,

where applicable, any finder or similar agency introduction fee.” The PAFM Business

United States v. LOBSANG DARGEY—Information - 11 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
Co PF SI HD HH FP WY NO —

NO NO WY NY NO NY NY NY NY | | | | | Fe Se OS ee
Oo ND WA FP WN KH TD OC FR DA fF WY NY | O&O

 

 

Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 12 of 25

Plan budget and the Tower Business Plan budget made no allowance for any portion of
EB-5 capital contributions to be used to pay commissions or other offering expenses.

34. Contrary to his representations, DARGEY secretly used investors’ capital
contributions to pay commissions and other EB-investment offering expenses that
DARGEY classified as “syndication costs.” The “syndication costs” included such
things as a $1.4 million payment towards the purchase of a Bellevue home for the
manager of Path America Asia, a $31,000 jewelry bill, and a $1,300 dinner bill, all of
which were associated with enticing new investors to invest in the projects. With respect
to PAFM, DARGEY paid approximately $3.7 million in sales commissions and
syndication costs out of PAFM investor capital contributions in addition to the $45,000
fee paid by each investor. With respect to the Tower, DARGEY paid approximately $7.8
million in commissions and syndication costs out of Tower investors’ capital
contributions in addition to the $45,000 fee paid by each investor.

35. | DARGEY knew these payments were contrary to his representations to the
immigrant investors and USCIS, and further knew that by paying these offering expenses
with capital contributions, the immigrant investors could be rendered ineligible for EB-5
visas. Further, DARGEY provided investors with PAFM and Tower Offering Materials
falsely representing that capital contributions were not being used for commissions or
syndication costs. In providing these materials to investors, DARGEY knew and
intended that the investors would provide the materials to USCIS in support of their I-526
petitions.

36. It was further part of the scheme and artifice to defraud that, even after
using millions of dollars of capital contributions to pay sales commissions, DARGEY
submitted and caused to be submitted to USCIS materials representing that he had not
done so. For example, DARGEY caused counsel to Path America to prepare a letter for
submission to USCIS in support of each Tower investor’s I-526 petition representing that

“no portion of the investors’ contributions has been or will be applied toward legal fees

United States v. LOBSANG DARGEY—Information - 12 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

5220
SEATTLE, WASHINGTON 98101
(206) 553-7970

 
So Oo HN DH HT BP WO NYO

eo ADHD NN FP WN K§ CO OO FH DD A HP WW NYO —- CO

 

 

Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 13 of 25

or administrative/marketing costs of [the Tower], which are paid from the separate
$45,000 administrative fee.” (Emphasis in original.) Similarly, on or about July 10,
2015, DARGEY signed and caused to be submitted to USCIS a filing that falsely
represented that “no portion of the investors’ contributions has been or will be applied
toward legal fees or administrative/marketing costs”; that “none of the investors’ capital
contributions will be used” for EB-5 offering expenses; and that all offering expenses
would be paid from non-EB-5 sources.

D. Secret Diversions of EB-5 Investments to Other Projects
37. It was further part of the scheme and artifice to defraud that DARGEY

represented to investors and USCIS that the investors’ capital contributions would be
used exclusively to develop the respective EB-5 projects. For example, the PAFM PPM
stated that “the proceeds of the Offering will be used by the Partnership to invest in the
Projects described herein.” Similarly, the Tower PPM stated that the capital
contributions “will be used to finance the construction, marketing and operations,
financing, improvement and sale of the Project.” In addition, both projects’ budgets
represented that 100% of the EB-5 capital would be expended on specific items related to
the actual construction and development of the PAFM and Tower projects.

38. Contrary to his representations to investors and USCIS, and beginning with
his receipt of the first PAFM capital contribution in April 2012, DARGEY secretly
diverted a portion of the investors’ capital contributions to DARGEY’s other non EB-5
real estate projects. Of the capital contributions the PAFM immigrant investors entrusted
to DARGEY to construct the PAFM, DARGEY and others secretly diverted
approximately $1.6 million to DARGEY’s personal Kirkland project, $550,000 to his
personal Potala Village Everett project, and $270,000 to another DARGEY project in
Seattle known as Path Othello (“Othello”). None of these projects were approved EB-5

projects.

United States v. LOBSANG DARGEY—Information - 13 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
oO Oo YI HD WH FP WD NO —

NN dh NHN KN KH KD DD Dewi mem meee eet
oO NID WN BW NYO |$ COD OO FAN HD NH FP WW NY | OC

 

 

Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 14 of 25

39. Similarly, of the funds that immigrant investors entrusted to DARGEY to
build the Tower project, DARGEY secretly diverted over $16 million to other projects.
This included approximately $7.7 million diverted to a proposed DARGEY project in
Shoreline known as Potala Shoreline (“Shoreline”); $6.4 million to DARGEY’s Kirkland
project, and $1 million to DARGEY’s proposed Othello project. In addition, DARGEY
diverted $2.5 million from the Tower project to the PAFM project to make up for funding
deficits in the PAFM project resulting from DARGEY’s misuse of funds and failure to
make equity contributions.

40. DARGEY knew that his secret diversions could render the EB-5 investors
ineligible for EB-5 visas because significant portions of their $500,000 investments had
been used for purposes other than the EB-5 projects in which they had invested.
However, DARGEY never disclosed to investors or USCIS that he had misused the funds
in this manner.

41. It was a further part of the scheme and artifice to defraud that, on or about
February 27, 2015, to make these diversions appear legitimate, DARGEY simultaneously
executed eight promissory notes purporting to memorialize debt obligations of the
entities that had received the secret diversions. The promissory notes were not secured,
did not provide for any interest for the period between the time DARGEY had diverted
the funds and the date of the note (which in some cases was nearly three years), and
provided for future interest at the submarket rate of 3% per year. Despite the supposed
interest obligations on the promissory notes, DARGEY did not cause any interest to be
paid or accrued on accounting documents for PAFM, the Tower Project, or the obligors
on the promissory notes after he signed the promissory notes. Furthermore, after
executing the promissory notes, DARGEY continued to divert additional funds from the
EB-5 projects to the obligors of the notes without amending the notes or issuing new

notes from those obligors to reflect the additional diversions.

United States v. LOBSANG DARGEY—Information - 14 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
Co 6S IND OO BP WY HO —

DO DN KR KR KN KN NO KPO KNO se et
eo AD Wn FF WN —&— CO OO fF AND ND NA & WO NO KH OS

 

 

Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 15 of 25

E. Misrepresentations Regarding Promised Equity Contributions
42. It was a further part of the scheme and artifice to defraud that DARGEY

falsely represented in the PAFM and Tower Offering Materials that DARGEY, through
Path America LLC, would make cash contributions of millions of dollars to the projects
when, in fact, neither DARGEY nor Path America had the means or intention to do so.

43. With respect to PAFM, DARGEY represented in the PAFM Offering
Materials, including the Business Plan, that Path America LLC would make a $2.5
million cash contribution to the project in the first ten months, and that Everett
Hospitality, a company DARGEY owned in part, would make an additional $3 million
equity contribution over the first 16 months of the project. In fact, neither Path America
nor Everett Hospitality ever made any cash or other financial contribution to the PAFM
project.

44, DARGEY never disclosed to the immigrant investors or to USCIS that he
had failed to make these contributions to PAFM. To the contrary, DARGEY continued
to distribute the PAFM Offering Materials to investors, and caused investors to submit
the PAFM Offering Materials to USCIS, after Path America LLC and Everett Hospitality
had failed to make the promised equity contributions.

45. With respect to the Tower Project, DARGEY represented in the Tower
Offering Materials that Path America LLC would make a $30 million equity contribution
to the Tower project. The Tower Business Plan stated that DARGEY, through Path
America LLC, would contribute $14.2 million to purchase the land for the Tower project,
and that Path America would contribute the remaining $15.8 million by January 2015. In
fact, Path America did not buy the land for the Tower project and never made any cash
contribution to the Tower project. Instead of using $14.2 million of Path America funds
to purchase the land as promised, DARGEY caused Potala Tower Seattle LLC to finance
the purchase through seller financing, resulting in millions of dollars of debt for the

project not disclosed in the Tower Offering Materials to the detriment of immigrant

United States v. LOBSANG DARGEY—Information - 15 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
eo ee ANA HD A BP WY NO —

oO NY HO NY NYO NY NY YN NO He FF Ee Fe OE OR OO R Oe
oN DO OH FW NYO | DOD OD fF HTD DA BPW NYO —- &

 

 

Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 16 of 25

investors. DARGEY later paid off this debt using a portion of the immigrant investors’
capital contributions.

46. DARGEY never disclosed to investors or USCIS that he had failed to make
the promised $30 million equity contribution. Further, on or about July 10, 2015,
DARGEY filed with USCIS the Tower Offering Materials representing that Path
America would make the $30 million equity contribution, when DARGEY knew that
Path America lacked the means to do so. DARGEY’S failure to contribute the equity
promised in the PAFM and Tower Offering Materials represented a material departure
from those materials that, if discovered by USCIS, could result in the denial of investors’
[1-526 petitions.
F. DARGEY’s Fraudulent Inducement of the Voya Loans

1. Inducement of the $25 Million PAFM Loan
47, It was further part of the scheme and artifice to defraud that, to make up the

funding deficit resulting from DARGEY’s misuse of PAFM project funds and failure to
contribute equity, DARGEY incurred significantly more construction debt than
represented to the immigrant investors to complete the PAFM project.

48. Specifically, in or about November 2014, DARGEY incurred $25 million
dollars of secured debt on behalf of PAFM LP in the form of a construction loan from
Voya, even though the PAFM Offering Documents represented that the project would
incur only $13.3 million in construction debt. The increased debt obligation materially
diminished the value of immigrant investors’ equity investments in PAFM LP and
represented a material departure from the PAFM Offering Materials that, if discovered by
USCIS, could result in USCIS denying investors’ I-526 petitions. DARGEY never
disclosed to the immigrant investors or USCIS that the amount of construction debt
incurred was nearly double the amount of debt stated in the PAFM Offering Materials.

49. It was further part of the scheme and artifice to defraud that DARGEY

made material misrepresentations to Voya and its agents about DARGEY’s personal

United States v. LOBSANG DARGEY—lInformation - 16 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
 

Co eo NI DH HH Se WW YH

ND bP KN KR KH KN KH BR Dw mm me ies
ont HN HA HR WD NY —K§& DOD OO CE AND Dr FP WY YH KS CO

 

 

Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 17 of 25

financial condition to induce Voya to make the $25 million loan to PAFM. Asa
condition of the loan, Voya required that DARGEY personally guarantee the $25 million
loan through construction and stabilization of the project. To verify that DARGEY had
the financial means to satisfy the personal guarantee, Voya required DARGEY to
disclose his personal financial information, particularly information concerning his liquid
assets. DARGEY knew he did not have sufficient liquid assets to meet Voya’s
requirements, and therefore, made numerous false statements about the value of his liquid
assets to deceive Voya into funding the construction loan.

50. Specifically, DARGEY knowingly provided Voya and its loan broker,
Newmark Realty Capital (“Newmark”), with a false and fraudulent bank statement for
Path America Asia’s Hong Kong bank account at Hong Kong Shanghai Bank
Corporation (“HSBC”). DARGEY altered or caused to be altered the HSBC statement to
make it appear that the account balance was in excess of $9.6 million, when in fact, as
DARGEY knew, the true value of the account was less than $450,000. DARGEY also
falsely represented to Newmark and Voya that the balance in the account had never fallen
below $2 million or $3 million.

51. It was further part of the scheme and artifice to defraud that, after obtaining
the $25 million loan for PAFM, DARGEY provided fraudulent PAFM financial
statements to Newmark and Voya to conceal the fact that he had secretly diverted PAFM
funds to other DARGEY projects. As a term of the loan agreement, DARGEY was
required to provide quarterly financial statements to Voya and Newmark following the
closing of the loan. PAFM’s financial statements contained entries revealing that PAFM
had diverted millions of dollars to other entities, including the Kirkland and Othello
projects. On or about April 28, 2015, and July 29, 2015, DARGEY directed a Path
America employee to alter the PAFM financial statements by removing the entries that

disclosed the secret diversions. At DARGEY’s direction, the Path America employee

United States v. LOBSANG DARGEY—Information - 17 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
Co eH HD nH BR WW NH

NM BR KH KN BD KR HN DR RO wm owt metre eee et
oO sS NH Wn BSP W NY S| CO CO FBZ Dn FP WD PHO K&S O&O

 

 

Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 18 of 25

then affixed DARGEY’s signature to the fraudulent financial statements and sent them to
Newmark.

2. Attempted Inducement of the $66 Million Tower Loan
52. It was further part of the scheme and artifice to defraud that, to make up the

funding deficit resulting from his misuse of Tower project funds and his failure to
contribute equity to the Tower project, DARGEY attempted to obtain a $66 million
secured loan from Voya, when the Tower Offering Materials had represented that the
project would incur only $36.6 million in construction loan debt. The increased debt
obligation would have materially increased the risk of default by Potala Tower Seattle
LLC on its debt to the NCEs (thus resulting in financial losses to the immigrant
investors), and would have represented a material change that could cause USCIS to deny
investors’ I-526 petitions.

53. It was a further part of the scheme and artifice to defraud that DARGEY
provided materially false financial information to Voya in an effort to induce Voya to
loan $66 million to the Tower Project. Specifically, on or about July 27, 2015, DARGEY
sent Voya a false and fraudulent Path America Asia HSBC bank statement that had been
altered at DARGEY’s direction to make it appear as if the account contained $8.2 million
in liquid assets, when in fact the account balance was less than $400,000. However,
DARGEY was ultimately unable to obtain the loan because the Securities and Exchange
Commission obtained injunctive relief prior to the closing of the loan.

G. DARGEY’s Fraudulent Inducement of the Binjiang Investments in the
Tower, Shoreline, and Othello Projects

1. Concealment of the Secret Diversions

54. It was a further part of the scheme and artifice to defraud that, to further
make up the funding shortfall caused by DARGEY’s misuse of Tower project funds and
failure to contribute equity to that project, DARGEY obtained $30 million of outside

equity financing not contemplated or disclosed by the Tower Offering Materials from

United States v. LOBSANG DARGEY—Information - 18 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
Oo Se SAND WO BP WY NO =

NO NO NO NO BHR NO NO NO NO em mw ime me ee
So aI HD A HRW NY S&§ DOD Oo FB A ND A BB WD YO K| CO

 

 

Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 19 of 25

Binjiang, a Chinese investment company. DARGEY did not disclose Binjiang’s
investment to the immigrant investors or USCIS.

55. It was a further part of the scheme and artifice to defraud that, to obtain the
Binjiang investment, DARGEY altered the Potala Tower Seattle LLC balance sheet to
conceal from Binjiang the fact that DARGEY had diverted millions of dollars of Tower
investor funds to unauthorized uses.

56. On or about June 4, 2015, a representative of Deloitte Touche Tomhatsu
Ltd. (“Deloitte”), which was performing due diligence on behalf of Binjiang, requested
that DARGEY produce a Potala Tower Seattle LLC balance sheet. At that time, certain
entries on the Potala Tower Seattle LLC balance sheet revealed that DARGEY had
secretly diverted approximately $16.8 million in investor funds to unauthorized uses,
including the diversions to Kirkland, PAFM, Shoreline, and Othello described above.
Specifically, these entries (the “due from entries”) stated that millions of dollars were due
to Potala Tower Seattle LLC from DARGEY’s Kirkland, PAFM, Shoreline and Othello
projects.

57. Shortly after receiving Deloitte’s request for the Potala Tower Seattle LLC
balance sheet, and to conceal the fact that he had misused investor funds, DARGEY
directed Path America representatives to falsify Tower accounting records so that the
“due from” entries would appear not on the Potala Tower Seattle LLC balance sheet
(which Deloitte had requested) but instead on the balance sheet of Path America Tower
LP, (which Deloitte had not requested). The movement of the “due from” entries to Path
America Tower LP was false and misleading because Potala Tower Seattle LLC, not Path
America Tower LP, had made the secret diversion payments. Indeed, as discussed above,
just four months earlier, DARGEY had executed promissory notes reflecting that the
debts were due to Potala Tower Seattle, LLC.

United States v. LOBSANG DARGEY—Information - 19 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
oS eo ND ON BP WY NO —

mB BR NO FO LO KH KYO KH KO we S| S| = S| Se Se Se Se
eo aT DWN WwW HR HO NY —K& DTD OF ANDQ BD UN FF W NH —H OS

 

 

Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 20 of 25

2. False Representations Regarding Tower Equity
58. It was a further part of the scheme and artifice to defraud that DARGEY

falsely represented to Binjiang that the Dargey Entities had made millions of dollars in
equity contributions to the Tower project, when in fact they had not. Binjiang required,
in exchange for its agreement to invest in the Tower project, that Path America contribute
no less than $15 million to the project. During negotiations, DARGEY falsely
represented to Binjiang that he had previously paid $12 million to purchase the land for
the project, when, in fact, DARGEY had made no contribution to that purchase.

DARGEY and Binjiang agreed that Path America would make an additional $3 million
cash contribution to the project prior to the deal closing.

59. The Tower Development Agreement provided that Path America LLC
would be reimbursed for “costs and expenses reasonably incurred” in connection with
developing the Tower project. The Tower budget projected that this would amount to
$750,000 over the life of the project. As of June 7, 2015, Path America LLC had already
been reimbursed $912,578 for direct overhead expenses actually incurred on behalf of the
project.

60. On or about June 8, 2015, at DARGEY’s direction, a Path America LLC
employee made a journal entry reflecting that DARGEY had incurred an additional $3.7
million in direct overhead expenses on behalf of Potala Tower Seattle LLC for which
DARGEY not been reimbursed. In fact, as DARGEY well knew, the $3.7 million figure
was entirely fabricated, and had no relation to any expenses actually incurred by
DARGEY or the Dargey Entities. DARGEY then directed the employee to convert the
fictitious $3.7 million reimbursement obligation into an equity credit in DARGEY’s
favor. These entries made it appear from the Potala Tower Seattle LLC financial
statements as if DARGEY had made the $3 million cash contribution to the Tower
project as agreed with Binjiang, when in fact he had made no contribution at all. On or

about June 13, 2015, DARGEY caused a Path America employee to email the resulting

United States v. LOBSANG DARGEY—Information - 20 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
oO Oo IND HKD UH BP W NH —

N NO NYO NY NY NY NY NY NO HH =| Be Se Se Se Se Se ee
So ADHD NH FP WN K|§ DO FAHD DOH FP W NY | O&O

 

 

Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 21 of 25

altered and fraudulent Potala Tower Seattle LLC balance sheet to the Deloitte
representative in China.

3. False Representations Regarding Shoreline Equity
61. It was a further part of the scheme and artifice to defraud that DARGEY

solicited and obtained $15 million investments from Binjiang in each of two additional
DARGEY developments, Shoreline and Othello, for a total of $30 million. DARGEY
required Binjiang to invest in Shoreline and Othello as a condition to Binjiang investing
in the Tower project. DARGEY intended to divert portions of the proceeds of Binjiang’s
Shoreline and Othello investments to the Tower project to make up for the shortfalls
resulting from DARGEY’s misuse of Tower funds and his failure to contribute equity to
the Tower project.

62. In connection with Binjiang’s investment in Shoreline, DARGEY falsely
represented to Binjiang that the Dargey Entities had contributed $8.5 million to the
Shoreline project. The Binjiang Investment Agreement for Shoreline required DARGEY
to contribute $5 million in cash to the Shoreline project. DARGEY falsely represented to
Binjiang that he had already contributed $8.5 million to the project, when in fact the only
funding of the project consisted of the $7.5 million in Tower EB-5 investor funds that
DARGEY had fraudulently diverted to the Shoreline project.

63. In addition, on or about June 8 and 9, 2015, a Path America employee, at
DARGEY’s direction, made entries in the Shoreline project’s accounting system that
made it appear as if DARGEY or the Dargey Entities had (1) incurred and paid $500,000
in unreimbursed direct overhead expenses on behalf of the Shoreline project, when in fact
these overhead expenses had not been incurred or paid; and (2) earned $1 million in
developer fees, when in fact the Dargey entities were not entitled to, and had not earned,
any developer fees. At DARGEY’s direction, the employee then converted those
fictitious payment obligations to the Dargey entities into equity credits in favor of
DARGEY. These entries made Shoreline’s balance sheet appear as if DARGEY had

United States v. LOBSANG DARGEY—Information - 21 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
Co Ce SI DO ON BP W NH —

NO NO PO NH HO HN NH HO NO S| HF HH FS Fe OS OOS OS lS
Oo NI NWN A FP WD NY K& CO OO Bn DBD A BP WD HY | OC

 

 

Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 22 of 25

contributed $8.9 million to the project, when in fact he had made no financial
contribution at all. DARGEY caused the false and fraudulent Shoreline balance sheet to
be emailed to Deloitte in China on or about June 13, 2015.

64. DARGEY intended and expected that, as a result of his false claim that he
had paid $3.5 million in equity more than the $5 million required under his agreement
with Binjiang, DARGEY would under the terms of his agreement with Binjiang
immediately receive a $3.5 million payment from Binjiang to “reimburse” him for his
“excess” equity contribution, when in fact DARGEY had made no equity contribution at
all.

4. False Representations Regarding Othello Equity
65. It was a further part of the scheme and artifice to defraud that DARGEY

induced Binjiang to make an additional $15 million investment in the Othello project by
falsely representing that the Dargey Entities had contributed $5.3 million to that project.
The Binjiang Investment Agreement for Othello required DARGEY to make a $5 million
cash contribution to the Othello project. DARGEY falsely represented to Binjiang that
he had already contributed $3 million to the project, when in fact the only funding of the
project consisted of the $1 million in Tower EB-5 investor funds and the $270,000 in
PAFM EB-5 investor funds that DARGEY had previously fraudulently diverted to the
Othello project.

66. In addition, on or about June 8 and 9, 2015, a Path America employee, at
defendant’s direction, recorded entries in the Othello project’s accounting system that
made it appear as if DARGEY or the Dargey Entities had (1) incurred and paid $1.5
million in direct overhead expenses on behalf of the project, when in fact these overhead
expenses had not been incurred or paid; and (2) earned $2.5 million in developer fees,
when in fact the Dargey entities had not earned, and were not entitled to, any developer
fees. At DARGEY’s direction, the employee then converted those fictitious payment
obligations to the Dargey entities into equity credits in favor of DARGEY, making it

United States v. LOBSANG DARGEY—Information - 22 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

$220
SEATTLE, WASHINGTON 98101
(206) 553-7970
 

co eo HTN DWN OH Se WH YN —

DN DN RO NN NO RO RD RD mm tee
oO NO OH HB WY NY —|$ TD OO FH HIT HD HA BP WW HNO —- OS

 

 

Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 23 of 25

appear from the balance sheet as if DARGEY had made the equity payments required by
the Othello Investment Agreement, when in fact he had made no payments at all.
DARGEY caused the false and fraudulent Othello balance sheet to be emailed to Deloitte
in China on June 13, 2015.

H. Overt acts
67. In furtherance of the conspiracy and to effect its objects, within the Western

District of Washington and elsewhere, LOBSANG DARGEY, together with other
individuals, committed and caused to be committed, among others, the following overt
acts, which are representative of the various overt acts undertaken in furtherance of the
fraud:

a. On or about April 2, 2013, LOBSANG DARGEY caused $200,000
of the capital contribution of D.L., a Path America Farmer’s Market investor, to be used
to pay expenses of LOBSANG DARGEY’s Kirkland project by means of an interstate
and foreign wire transmission;

b. On or about August 19, 2014, LOBSANG DARGEY caused a
falsified HSBC bank statement to be transmitted to Newmark Realty Capital by means of
an interstate and foreign wire transmission;

C. On or about August 20, 2014, LOBSANG DARGEY caused
$325,000 of the capital contributions of Path America Farmer’s Market investors to be
used to pay agent sales commissions by means of an interstate and foreign wire
transmission;

d. On or about November 3, 2014, LOBSANG DARGEY caused
$1,402,454 of the capital contributions of Potala Tower investors to be applied toward the
purchase of a residence for an officer of Path America Asia by means of an interstate and
foreign wire transmission;

e. On or about November 14, 2014, LOBSANG DARGEY caused
$90,000 of the capital contributions of Potala Tower investors to be used to pay
syndication costs incurred by Path America Asia by means of an interstate and foreign
wire transmission;

f. On or about May 13, 2015, LOBSANG DARGEY caused
$6,000,000 of the capital contributions of Potala Tower investors to be used to purchase
land for LOBSANG DARGEY’s Shoreline project by means of an interstate and foreign
wire transmission; and

United States v. LOBSANG DARGEY—Information - 23 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
 

Co mean KD nH BSP W PO

NM bd DO KN KN HO KR KR NO wm mm mm eet
oOo sa DN OW SP W HY SK& OD OO CH HR HH FB WW HO KH OS

 

 

Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 24 of 25

g. On or about June 13, 2015, LOBSANG DARGEY caused the
transmission of an altered Potala Tower Seattle balance sheet to Deloitte Touche
Tomhatsu, which was conducting due diligence on behalf of Shanghai Binshun
Investment Management Company by means of an interstate and foreign wire
transmission.

All in violation of Title 18, United States Code, Section 371.

COUNT 2
(Scheme to Conceal Information From the United States)
68. Paragraphs 1 through 67 are hereby incorporated by reference as if fully set

forth herein.

69. Beginning at a time unknown, but no later than March 2012, and continuing
through on or about August 24, 2015, at Bellevue, within the Western District of
Washington, and elsewhere, LOBSANG DARGEY, in a matter within the jurisdiction of
the United States Department of Homeland Security, United States Citizenship and
Immigration Services, did falsify, conceal, and cover up by any trick, scheme, artifice and
device material facts, to wit, the facts that:

a. LOBSANG DARGEY had secretly diverted capital contributions of
EB-5 investors in the Path America Farmer’s Market project to other LOBSANG
DARGEY projects, including the Kirkland, Potala Village Everett, Tower, and Othello
projects;

b. LOBSANG DARGEY had secretly diverted capital contributions of
EB-5 investors in the Path America Farmer’s Market project to pay agent sales
commissions and other expenses associated with promoting the Path America Farmer’s
Market EB-5 investment;

c, LOBSANG DARGEY had secretly diverted capital contributions of
EB-5 investors in the Potala Tower Project to other LOBSANG DARGEY projects,
including the Kirkland, Potala Village Everett, PAFM, and Othello projects; and

Hf
H/

United States v. LOBSANG DARGEY-—Information - 24 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
Case 2:17-cr-00001-RSL Document1 Filed 01/03/17 Page 25 of 25

d. LOBSANG DARGEY had secretly diverted capital contributions of
EB-5 investors in the Potala Tower Project to pay agent sales commissions and other
expenses associated with promoting the Path America Tower EB-5 investment.

All in violation of Title 18, United States Code, Section 1001(a)(1) and Section 2.

Ci~
ZANNETTE L. HAYES
United States Attotney,

GREG ee

ANDREW FRIEDMAN
Assistant United States Attorney

atu ce’

(USTIN-W: ARNOLD
aN United States Attorney

DSA Wihen~

SETH WILKINSON
Assistant United States Attorney

 

nn
Ww NO = DO O© CAV ND NA BP W WN —

— et
wa +.

 

—
sa HN

18
19
20
21
22
23
24
25
26
27
28

 

 

United States v. LOBSANG DARGEY—Information - 25 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE

5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
